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 STATE OF CONNECTICUT                         :
                                              :
                                              :       ss: New Haven, Connecticut
                                              :
 COUNTY OF NEW HAVEN                          :       September 2, 2021


 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Anthony Crisera, being first duly sworn, hereby depose and state as follows:

                  INTRODUCTION AND BACKGROUND OF AFFIANT

       1.      I am a Special Agent of the Federal Bureau of Investigation (FBI), where I have

been employed since January of 2021. I am currently assigned to work a variety of criminal

matters, including financial crimes such as securities fraud, bank fraud, wire fraud, mail fraud,

and cyber-enabled fraud. During my training at the FBI Academy in Quantico, Virginia, I

received instruction regarding a variety of investigative and legal matters, including the topics of

Fourth Amendment searches and seizures, the drafting of search and seizure warrant affidavits,

and the principles of probable cause. I am currently a Certified Public Accountant (CPA), and

prior to my employment as a Special Agent of the FBI, I was employed as a Senior Audit

Associate at PricewaterhouseCoopers in Charlotte, North Carolina for approximately two years.

As a CPA, I have gained extensive experience in examining finance-related business processes,

analyzing financial information, and evaluating business expenditures. Through my training and

experience as a CPA, I have developed the appropriate level of financial acumen necessary to

effectively conduct financial investigations. As a federal agent, I am authorized to investigate

violations of laws of the United States, and as a law enforcement officer I am authorized to

execute warrants issued under the authority of the United States.
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       2.      I make this affidavit in support of a criminal complaint and arrest warrant

charging an adult female named Jamie Petrone-Codrington (“PETRONE-CODRINGTON”),

who was born in 1979, with the following criminal offenses (collectively, the “TARGET

OFFENSES”): mail fraud, in violation of 18 U.S.C. § 1341; wire fraud, in violation of 18 U.S.C.

§ 1343; and money laundering, in violation of 18 U.S.C. § 1957.

       3.      At the time of the offense conduct set forth below, PETRONE-CODRINGTON

was living in Connecticut.

       4.      Based on the information set forth in this affidavit, I believe there is probable

cause to believe, and I do believe, that PETRONE-CODRINGTON committed the TARGET

OFFENSES in the District of Connecticut.

       5.      The statements contained in this affidavit are based in part on information

provided by other members of local, state, and federal law enforcement; publicly available court

records; interviews of witnesses, documents and other investigative materials which I have

reviewed, as well my training and experience as a law enforcement officer. Since this affidavit is

being submitted for the limited purpose of securing a criminal complaint and arrest warrant, I

have not included each and every fact known to me concerning this investigation. I have set

forth only the facts that I believe are necessary to establish probable cause for the requested

criminal complaint and arrest warrant.

                                       RELEVANT STATUTES


       6.      18 U.S.C. § 1341 (mail fraud) prohibits a person who, having devised or

intending to devise any scheme or artifice to defraud, or for obtaining money or property by

means of false or fraudulent pretenses, representations, or promises, causes any matter or thing to
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be delivered by any private or commercial interstate carrier for the purpose of executing such

scheme or artifice.

       7.      18 U.S.C. § 1343 (wire fraud) prohibits a person who, having devised or

intending to devise any scheme or artifice to defraud, or for obtaining money or property by

means of false or fraudulent pretenses, representations, or promises, transmits or causes to be

transmitted by means of wire communication, in interstate or foreign commerce, any writings,

signs, signals, pictures, or sounds for the purpose of executing such scheme or artifice.

       8.      18 U.S.C. § 1957 (money laundering) prohibits a person from (acting in the

United States) knowingly engaging in a monetary transaction in criminally derived property of a

value greater than $10,000 and is derived from specified unlawful activity.

                      THE INVESTIGATION AND PROBABLE CAUSE

       9.      On or about August 25, 2021, the FBI initiated an investigation into PETRONE-

CODRINGTON regarding an apparent scheme to defraud Yale University and the Yale

University School of Medicine (“Yale Med”), by causing Yale Med, and in particular the Yale

Med Department of Emergency Medicine, to purchase electronic devices from one or more

vendors, and then selling those devices to a third party for her own financial gain. The FBI

initiated the investigation based on information provided by Yale. As part of its investigation,

the FBI has reviewed certain Yale records, including email communications to and from

PETRONE-CODRINGTON.

       10.     PETRONE-CODRINGTON was employed by Yale Med, Department of

Emergency Medicine, beginning in approximately 2008, and had previously worked in other

areas of Yale Med and Yale New Haven Hospital since 1999. Since September 1, 2019,

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PETRONE-CODRINGTON was Lead Administrator and Director of Finance and

Administration for the Department of Emergency Medicine; prior to that, PETRONE-

CODRINGTON held other administrative positions within the Department of Emergency

Medicine beginning in 2008. As part of her job responsibilities, PETRONE-CODRINGTON

had authority to make and authorize certain purchases on behalf of the Department of Emergency

Medicine for departmental needs. So long as the purchase amount stayed below $10,000,

PETRONE-CODRINGTON did not need further authorization within the Yale purchasing

structure.

       11.    Beginning at least as early as 2013, PETRONE-CODRINGTON engaged in a

scheme whereby she ordered, or caused others working for her to order, large amounts of

computer hardware—most recently tablet computers such as Microsoft Surface Pros—from Yale

vendors using Yale Med funds. PETRONE-CODRINGTON broke up purchases into several

orders below the $10,000 threshold that would require additional approval. PETRONE-

CODRINGTON often falsely represented on Yale internal forms and in electronic

communications that the hardware was for specified Yale Med needs, such as particular medical

studies. However, when Yale Med received the hardware from vendors, PETRONE-

CODRINGTON instead arranged to ship the hardware, via FedEx or other interstate carrier, to

an out-of-state business in exchange for money. That business would then resell the hardware to

other end customers. PETRONE-CODRINGTON directed that payment be made from the out-

of-state business into a company of which PETRONE-CODRINGTON is a principal.

PETRONE-CODRINGTON then used that money to purchase expensive goods and services,

among other things, often in excess of $10,000.

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       12.     Records reviewed thus far show that, since fiscal year 2018, PETRONE-

CODRINGTON drafted thousands of purchase orders, typically below $10,000, totaling

approximately $30 million. Since January 2021, PETRONE-CODRINGTON arranged for

Yale’s purchase of approximately eight-thousand iPads and Surface Pro tablets. From

approximately May 27, 2021 to August 19, 2021, PETRONE-CODRINGTON ordered

approximately $2.1 million in computer equipment on behalf of Yale. Law enforcement is

currently evaluating how much of those totals were fraudulent, as opposed to legitimate

purchases.

       13.     By way of example, Yale records show that on May 26, 2021, PETRONE-

CODRINGTON directed another Yale employee to prepare documentation for an order of 100

Microsoft Surface Pro 7 CORE i5 8 GB/256 GB tablet computers, which PETRONE-

CODRINGTON claimed were for a new study to be launched on Memorial Day weekend.

Accordingly, the Yale employee prepared 12 purchase orders for 8 Surface Pros each (totaling

$9,102.56 per order) and one purchase order for 4 Surface Pros (totaling $4,551.28). On May

27, 2021, the out-of-state business sent an email to PETRONE-CODRINGTON (in Connecticut)

with the subject line “Label 5/27/2021,” and the text “Contents: 100 X SP 7 512 GB i7.” The

email attached a .pdf file with 10 FedEx labels, addressed to a New York location. The labels

each contained unique tracking numbers. FedEx records show that packages with those tracking

numbers were shipped from Orange, Connecticut, on June 3, 2021 and delivered on June 4, 2021

to a location in New York associated with the out-of-state business.




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       14.     I have reviewed bank records associated with PETRONE-CODRINGTON’s

business, which shows an incoming wire from the out-of-state business on May 27, 2021 (the

date of the above example) in the amount of $71,800.00.

       15.     Records show that, as recently as August 24, 2021, PETRONE-CODRINGTON

placed an order from a Yale vendor for approximately $144,000 in Surface Pro tablets, broken

into several purchase orders under $10,000.

       16.     The FBI has recently intercepted packages sent by PETRONE-CODRINGTON

from Connecticut to the out-of-state business:

               a.   On August 26, 2021, this Court authorized a search warrant for seven boxes

        containing packages that had been delivered by PETRONE-CODRINGTON to a FedEx

        location in Orange, Connecticut on August 25, 2021, for shipment to a New York

        address associated with the out-of-state business. Video surveillance showed

        PETRONE-CODRINGTON delivering the boxes to FedEx. Those boxes indeed

        contained numerous individually boxed new Surface Pro tablet computers.

               b.   On August 26, 2021, law enforcement observed PETRONE-CODRINGTON

        drive numerous boxes that had been loaded into the back of her Range Rover SUV from

        her Yale Med office to the FedEx location in Orange, again to be shipped to New York.

        The FBI seized from FedEx 94 individually boxed Surface Pro tablet computers that had

        been delivered by PETRONE-CODRINGTON.

       17.     The precise beginning date of the scheme and artifice has not yet been

determined. Law enforcement has located an email as early as 2013 showing PETRONE-

CODRINGTON arranging the sale of an Apple MacBook computer.

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       18.    PETRONE-CODRINGTON provided a voluntary statement to law enforcement

on or about August 26, 2021. Among other things, PETRONE-CODRINGTON admitted to

having devised and executed the above-referenced scheme, and indicated that it had been going

on for several years, possibly as many as ten years. PETRONE-CODRINGTON estimated that

approximately 90% of her computer-related purchases were fraudulent.




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                                         CONCLUSION

       19.     Based on the foregoing, there is probable cause to believe that PETRONE-

CODRINGTON committed the TARGET OFFENSES, at least as early as 2013 and continuing

through August 26, 2021, by defrauding Yale University and Yale Med through reselling

electronics that she ordered with Yale funds; using FedEx and other commercial interstate

carriers in furtherance of that scheme; using interstate wires (including emails) in furtherance of

that scheme; and then spending the proceeds of those offenses for her own personal use, often in

amounts in excess of $10,000 of criminally derived proceeds. Therefore, I respectfully request

that a criminal complaint and arrest warrant be issued to support the arrest of and to charge

PETRONE-CODRINGTON with the TARGET OFFENSES.

                                                     Respectfully submitted,
                                                     ANTHONY                Digitally signed by ANTHONY
                                                                            CRISERA
                                                     CRISERA                Date: 2021.09.02 14:58:46 -04'00'

                                                     Anthony Crisera
                                                     Special Agent
                                                     Federal Bureau of Investigation


       The truth of the foregoing affidavit has been attested to me by Special Agent Anthony
Crisera of the Federal Bureau of Investigation over the telephone on this ____
                                                                          2nd day of September,

2021, at New Haven, Connecticut.


       Sarah A. L. Merriam, Digitally signed by Sarah A. L.
                            Merriam, U.S.M.J.
       U.S.M.J.
       _________________________________________
                            Date: 2021.09.02 16:31:42 -04'00'

       HON. SARAH A. L. MERRIAM
       UNITED STATES MAGISTRATE JUDGE




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